[EDITOR'S NOTE: This case is unpublished as indicated by the issuing court.]                         MEMORANDUM OF DECISION
The father Tony Esquilin and mother Torey Hubbard in the above-entitled matter was found to be the father and mother of the minor children Shiann Star Esquilin, born April 12, 1998 and Christian Joaquim Esquilin, born CT Page 8129 October 6, 2001. As to the minor child, Christian, the father made no claim to custody. Furthermore, the father also made no claim for visitation with his son.
As to the minor child Shiann Star Esquilin, both parties were seeking custody of the child. The court received testimony from the mother and father. The court also heard testimony from the Family Relations Officer, Sharon Kesten. Her custody evaluation was also marked as a full exhibit and reviewed by the court. The court considered the psychological condition of the mother, prior criminal involvement of the mother, housing and employment and abilities of the parties to care for the children. After reviewing the testimony and exhibit, the court makes the following orders:
1. Sole custody of the minor child Christian Joaquim Esquilin, date of birth October 6, 2001, is awarded to the mother, Torey Ann Hubbard. The father, Tony Esquilin, is awarded reasonable rights of visitation with 48 hours notice to the mother.
2. The parties are awarded joint legal custody of the minor child Shiann Star Esquilin, born April 12, 1998. The minor child shall primarily reside with the mother. The father shall have reasonable rights of visitation to include, but not be limited to, two overnights per week, preferably on nights when the father is not working. Said visits are to be arranged by mutual agreement of the parties on a weekly basis upon the father receiving his work schedule. The father shall pay child support to the mother or the State of Connecticut, as their interest may lie, and shall further maintain Husky insurance for the minor child Shiann Star Esquilin in accordance with the orders entered by the Family Support Magistrate Court in Docket No. FA-98-0115916, J.D. of New London at Norwich.
Devine, J.